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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


LAKSHMANAN PONNAYAN ACHARI, et al.,                     CIVIL ACTION
                     Plaintiffs,
    v.                                                  No. 13-6218 (c/w 13-6219, 13-
                                                        6220, 13-6221, 14-732, 14-1818)
SIGNAL INTERNATIONAL, LLC, et al.,
                        Defendants.                     Section “E”

Related Cases:

KURIAN DAVID, et al,,                                   CIVIL ACTION
                                 Plaintiffs,
      v.                                                No. 08-1220

SIGNAL INTERNATIONAL, LLC, et al.,                      Section “E”
                        Defendants.

EQUAL EMPLOYMENT OPPORTUNITY                            CIVIL ACTION
COMMISSION,
                      Plaintiff,                        No. 12-557
    v.
                                                        Section “E”
SIGNAL INTERNATIONAL, LLC, et al.,
                        Defendants.
                                                        CIVIL ACTION
REJI SAMUEL, et al.,
                                 Plaintiff,             No. 14-2811 (c/w 14-2826,
      v.                                                15-2295, 15-2296, 15-2297)

SIGNAL INTERNATIONAL, LLC, et al.,                      Section “E”
                        Defendants.


Applies To: No. 13-6218 (c/w 13-6219, 13-6220, 13-6221, 14-732, 14-1818); No. 08-1220
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        JOINT MOTION FOR ENTRY OF JUDGMENT OF PARTIAL DISMISSAL

                 The Joint Plaintiffs,1 and Defendants Sachin Dewan and Dewan Consultants Pvt.

Ltd. (“Dewan Defendants”) respectfully submit this Joint Motion for Entry of Judgment of

Partial Dismissal.

                 In support of this motion, the Joint Plaintiffs and the Dewan Defendants aver that

they have achieved an agreement to settle these cases as between them. At the request of the

Achari Plaintiffs and the Dewan Defendants, the Court entered an order of conditional dismissal

on December 16, 2015, No. 13-6218, R. Doc. 714, and an eighth order extending that conditional

dismissal for an additional fourteen days on March 23, 2017. No. 13-6218, R. Doc. 772.

                 The parties have a final settlement agreement which has been approved and

executed by the Dewan Defendants and likewise approved and executed by all of Joint Plaintiffs

in the Related Cases. Counsel for the Achari Plaintiffs and the Chakkiyattil Plaintiffs have

worked with a trust company to set up a liquidation trust to receive and then disburse the funds

from both the Dewan and Burnett settlements. That trust company has agreed to serve as the

statutory trustee for that trust. The trust documentation has been fully executed by all relevant

parties: a board of trustees consisting of five plaintiffs, the statutory trustee, and the Dewan and

Burnett defendants (as grantors to the trust). The trust has also established an escrow account to

receive funds. As such, the trust is now able to receive the settlement proceeds from the Dewan

Defendants.

                 Under the provisions of the final settlement agreement between the Joint Plaintiffs

and the Dewan Defendants (the “Dewan Settlement Agreement”), all consideration under the


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 The “Joint Plaintiffs” includes the plaintiffs in the following civil actions: Achari v. Signal, No. 13-6218 (c/w
Chakkiyattil v. Signal, 13-6219; Krishnakutty v. Signal, 13-6220; Devassy v. Signal, 13-6221; Singh v. Signal, 14-
732; Thomas v. Signal, 14-1818); and David v. Signal, No. 08-1220 (together, the “Related Cases”).


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terms therein must be fully discharged and satisfied by July 2018. In addition, under the terms of

the Dewan Settlement Agreement, a certain filing was entered under seal by the Dewan

Defendants in David v. Signal Int’l LLC, No. 08-1220, on April 6, 2017 (“Sealed Document No.

1 filed on April 6, 2017”).

               Accordingly, the Joint Plaintiffs and the Dewan Defendants respectfully request

that this Court enter an order of partial dismissal as against the Dewan Defendants in all of the

Related Cases, without costs and without prejudice to the right, upon good cause shown, on or

before August 1, 2018, to reopen the action if the settlement is not consummated. The Joint

Plaintiffs and the Dewan Defendants also respectfully request that the Court retain jurisdiction to

enforce the Dewan Settlement Agreement and Sealed Document No. 1 filed on April 6, 2017,

pursuant to Kokkonen v. Guardian Life, 511 U.S. 375, 114 S.Ct. 1673 (1994) and Hospitality

House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).

               WHEREFORE, for the foregoing reasons, the Joint Plaintiffs and the Dewan

Defendants request that this Court enter an order of partial dismissal as against the Dewan

Defendants in all of the Related Cases, without costs and without prejudice to the right, upon

good cause shown, on or before August 1, 2018, to reopen the action if the settlement is not

consummated, and also retaining jurisdiction to enforce the Dewan Settlement Agreement and

Sealed Document No. 1 filed on April 17, 2017, pursuant to Kokkonen v. Guardian Life and

Hospitality House, Inc. v. Gilbert.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have served a copy of the above and foregoing Joint Motion

for Entry of Judgment of Partial Dismissal using this Court's CM/ECF system to counsel of

record participating in the CM/ECF system, or by placing signed copies in the United States

mail, properly prepaid, to counsel of record not participating in the CM/ECF system, on this 18th

day of April, 2017.


                                                          /s/ Naomi R. Tsu
                                                       Naomi R. Tsu




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